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 8                            UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   PHILLIP GALLEGOS,             )          NO. CV 20-4019-CJC(E)
                                   )
12                  Petitioner,    )
                                   )
13        v.                       )                 JUDGMENT
                                   )
14   WARDEN, CENTINELA STATE       )
     PRISON,                       )
15                                 )
                    Respondent.    )
16                                 )
     ______________________________)
17

18         Pursuant to the Order Accepting Findings, Conclusions and

19   Recommendations of United States Magistrate Judge,

20

21         IT IS ADJUDGED that the Petition is denied and dismissed with

22   prejudice.

23

24   DATED: March 1, 2022.

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26                                      _______________________________
                                               CORMAC J. CARNEY
27                                        UNITED STATES DISTRICT JUDGE

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